Case 1:21-cv-11205-FDS Document 182-106 Filed 01/06/25 Page1of4

FILED PARTIALLY UNDER SEAL

Exhibit 106

February 6, 2024 Notice
(Excerpt of Exhibit A Included As Exhibit 107)
Case 1:21-cv-11205-FDS Document 182-106 Filed 01/06/25 Page 2of4

Catalina Re

February 6, 2024 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3" Floor
Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company eee

; Administrator on behalf of:
10805 Old Mill Road Alea North America Insurance Company
Omaha, NE 68154 National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Members of Catalina Holdings (Bermuda) Ltd.

Re: Indemnification Claim
Dear Mr. Silver:

I write on behalf of SPARTA in reference to the Stock Purchase Agreement
("SPA") among Pennsylvania General Insurance Company ("PGIC"), OneBeacon
Insurance Company ("OneBeacon"), and SPARTA Insurance Holdings, Inc.
("SPARTA") dated as of March 12, 2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC,"
formerly PGIC) with notice of various claims under Section 8.1 of the SPA, which
relate to insurance policies originally issued by American Employers’ Insurance
Company ("AEIC"), for which PGIC agreed to indemnify SPARTA under the SPA.
SPARTA also reserved its right to advise PIC of the dollar amount of each such claim at
a later date.

In prior correspondence on November 7, 2022, September 28, 2023, November
6, 2023, and December 19, 2023, SPARTA advised PIC that it had expended a total of
on the previously noticed claims through November 30, 2023, and
in service fees paid to A.G. Risk Management Inc. for processing those
Claims. SPARTA also informed PIC that it reserved the right to provide PIC with
notices regarding additional amounts expended. To date, PIC has not made any
payments to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA
has expended an additional | Redacted on the previously noticed claims through
December 31, 2023, and an additional| Redacted|in service fees paid to A.G. Risk
Management Inc. for processing those claims. See Exhibit A. Please promptly remit
payment to SPARTA of that amount.

PIC is responsible for the handling and defense of these claims under the SPA
and the Instrument of Transfer and Assumption between PGIC and AEIC dated June 15,

Case 1:21-cv-11205-FDS Document 182-106 Filed 01/06/25 Page 3of4
Catalina Re

2005. Until PIC confirms that it will satisfy its contractual obligations to SPARTA by
administering and paying these claims, SPARTA may continue to protect its interest
and reserves all rights. The amounts set forth on Exhibit A are provided without
prejudice to SPARTA’s right to recover additional amounts expended after December
31, 2023, in furtherance of resolving these or other claims for which PIC is responsible,
and to SPARTA's right to recover legal fees as incurred or will incur due to PGIC's
failure to satisfy its obligations to SPARTA. SPARTA will provide PIC with any such
additional amounts expended by SPARTA periodically.

Please contact me if you need additional information or believe any of this is
incorrect.

Regards,
en a
a x
a / /
x Joshia Weiner
Enclosure
ce: Samuel C. Kaplan (via email w/enclosure)
Maxwell V. Pritt (via email w/enclosure)

Mariah J. Noah (via email w/enclosure)
John F. Dew (via email w/enclosure)

Page 2

Case 1:21-cv-11205-FDS Document 182-106 Filed 01/06/25 Page4of4

Excerpt Of Exhibit A
Included As Exhibit 107
